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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF KENTUCKY
                                       ASHLAND DIVISION
                                 CIVIL ACTION NO. 0:16-cv-94-HRW


THE UNITED STATES OF AMERICA,
                                                                                        PLAINTIFF
v.
                    PLAINTIFF’S REPLY TO DEFENDANT,
         KENTUCKY REVENUE CABINET AND BOYD COUNTY, KENTUCKY’S
                    COUNTERCLAIM AND CROSS-CLAIM


AMANDA DAWN ANDERSON, NKA AMANDA THOMPSON, ET AL.,
                                                                                      DEFENDANTS

                                         ** ** ** ** **
         Now comes Plaintiff, The United States of America, by and through undersigned counsel,

and for its reply to the Counterclaim and Cross-Claim of Defendant, Kentucky Revenue Cabinet

and Boyd County, Kentucky, states as follows:

                        REPLY TO THE CROSS-CLAIM/COUNTERCLAIM

         1.         With regard to Paragraph 1 of the Counterclaim and Cross-Claim, Plaintiff denies

the allegations contained therein for want of knowledge sufficient to form a belief as to their

truth or falsity.

         2.         Plaintiff denies any averment not specifically admitted herein.
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                                 DEFENSES AND AFFIRMATIVE DEFENSES

        1.        Defendant’s Counterclaims and Cross-Claims fail to state claims upon which

relief may be granted pursuant to Kentucky Rule of Civil Procedure 12.02.


        2.        Plaintiff herein reserves the right to supplement its affirmative defenses and

defenses as necessary.

                                                             Respectfully submitted,

                                                             Clunk, Paisley & Associates, PSC

                                                             /s/ Travis W. Thompson ___________
                                                             Travis W. Thompson KBA No. 91275
                                                             Jason A. Whitacre KBA No. 09609
                                                             Attorneys for Plaintiff
                                                             2360 Chauvin Drive, Suite 204
                                                             Lexington, KY 40517-3917
                                                             Telephone:        502-867-6758
                                                             Facsimile:        502-867-6761
                                                             Email:            info@clunkpaisley.com


             THE LAW OFFICES OF CLUNK, PAISLEY AND ASSOCIATES, P.S.C. is attempting
             in this action to collect a debt, any information provided to such Party will be used for that
             purpose, and this is a communication from a debt collector.
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                                 CERTIFICATE OF SERVICE

       This will certify that on this 4th day of October, 2016, I electronically filed the foregoing

document into the Court’s record of this action by using the Court’s CM/ECF Electronic Filing

System, which will send a notice of the electronic filing to:

Patrick M. Hedrick, Esq.
Assistant Boyd County Attorney
P.O. Box 425
Catlettsburg, Kentucky 41129
Attorney for Kentucky Revenue Cabinet and Boyd County, Kentucky

Via regular U.S. Mail to:

Amanda Dawn Anderson
Nka Amanda Thompson
18021 Anthony Ave.
Country Club Hills, IL 60478-5040

George Wesley Thompson, Jr.
5831 Cline Dr.
Ashland, KY 41102-4822

Atlantic Credit & Finance, Inc.
c/o Lexis Document Services, Inc.
421 W. Main Street
Frankfort, KY 40601

Hudson & Keyse, LLC
382 Blackbrook Road
Painesville, OH 44077

Commonwealth of Kentucky,
Division of Collections,
Department of Revenue
c/o Attorney General, Capitol Building
700 Capitol Avenue, STE 118
Frankfort, KY 40601



                                                   __/s/ Travis W. Thompson_______
                                                   Travis W. Thompson
